                         Case 1:21-mj-00069-ZMF Document 5 Filed 01/22/21 Page 1 of 18
AO 442 (Rev. 11/11) Arrest Warrant



                                        UNITED STATES DISTRICT COURT
                                                                  for the
                                                          District
                                                   __________      of Columbia
                                                              District  of __________

                  United States of America
                             v.                                     )
                        KARL DRESCH                                 )        Case No.
                                                                    )
                                                                    )
                                                                    )
                                                                    )
                            Defendant


                                                       ARREST WARRANT
To:      Any authorized law enforcement officer

         YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested)      Karl Dresch                                                                                         ,
who is accused of an offense or violation based on the following document filed with the court:

u Indictment              u Superseding Indictment         u Information        u Superseding Information             ✔ Complaint
                                                                                                                      u
u Probation Violation Petition              u Supervised Release Violation Petition       u Violation Notice          u Order of the Court

This offense is briefly described as follows:
  18 U.S.C. 1752 (a)(1), (2)- Knowingly Entering or Remaining in any Restricted Building or Grounds Without Lawful
  Authority And Impeding or Disrupting Official Functions
  18 USC 1512(c)-Obstructing an Official Proceeding
  40 U.S.C. 5104(e)(2)- Violent Entry and Disorderly Conduct on Capitol Grounds




Date:         01/15/2021
                                                                                            Issuing officer’s signature

City and state:       Washington, DC                                          ZIA M. FARUQUI, U.S. Magistrate Judge
                                                                                             Printed name and title


                                                                  Return

           This warrant was received on (date)                          , and the person was arrested on (date)
at (city and state)                                           .

Date:
                                                                                          Arresting officer’s signature



                                                                                             Printed name and title
       Case 1:21-mj-00069-ZMF Document 5 Filed 01/22/21 Page 2 of 18




                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF MICHIGAN
                              NORTHERN DIVISION

UNITED STATES OF AMERICA,
                                               No.   2:21-mj-00004
            Plaintiff,

v.                                             COMPLAINT
                                               PENALTY SHEET
KARL DRESCH,

            Defendant.
_____________________________/

COUNT 1 – Knowingly Entering or Remaining in any Restricted Building
or Grounds Without Lawful Authority and Impeding or Disrupting Official
Functions – 18 U.S.C. § 1752(a)(1), (2)

Maximum penalty: Not more than one year’s imprisonment and/or a $100,000
fine [18:3571]
Supervised Release: Not more than 1 year [18 U.S.C. § 3583] (Class A
Misdemeanor, 18:3559)
Special Assessment: $25 [18 U.S.C. § 3013]

COUNT 2 – Violent Entry and Disorderly Conduct on Capitol Grounds – 40
U.S.C. § 5104(e)(2)

Maximum penalty: Not more than six months’ imprisonment and/or a $5,000 fine
[18:3571]
Special Assessment: $10 [18 U.S.C. § 3013]

COUNT 3 – Obstructing an Official Proceeding – 18 U.S.C. § 1512(c)

Maximum penalty: Not more than twenty years’ imprisonment and/or a $250,000
fine [18:3571]
Supervised Release: Not more than 3 years [18 U.S.C. § 3583] (Class C Felony,
18:3559)
Special Assessment: $100 [18 U.S.C. § 3013]

Date: January 20, 2021                   /s/Theodore J. Greeley
                                         Counsel for the United States

Submitted in accordance with Admin Order 17-MS-046
        Case 1:21-mj-00069-ZMF Document 5 Filed 01/22/21 Page 3 of 18

                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF MICHIGAN
                             NORTHERN DIVISION


UNITED STATES OF AMERICA,

           Plaintiff,                          Case No. 2:21−mj−4

   v.                                          Hon. Maarten Vermaat

KARL DRESCH,

           Defendant.
                                        /



                            NOTICE OF HEARING


TAKE NOTICE that a hearing has been scheduled as set forth below:

Type of hearing(s):     First Appearance
Date/Time:              January 20, 2021 03:00 PM
Magistrate Judge:       Maarten Vermaat
Place/Location:         by video

The public may access this hearing by dialing 888−363−4734 and using this
access code 2739526#.



                                            MAARTEN VERMAAT
                                            U.S. Magistrate Judge

Dated: January 20, 2021           By:        /s/ A. E. Robinson
                                            Deputy Clerk
                          Case 1:21-mj-00069-ZMF Document 5 Filed 01/22/21 Page 4 of 18

                            UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF MICHIGAN
                                                     CRIMINAL MINUTE SHEET
USA v.       Karl Dresch                                                              Mag. Judge: Maarten Vermaat

    CASE NUMBER                      DATE                 TIME (begin/end)            PLACE                 INTERPRETER


       2:21-mj-4                    1/20/2021             3:02 pm - 3:20 pm          Marquette


APPEARANCES:
Government:                                              Defendant:                                   Counsel Designation:
Theodore Greeley                                         Elizabeth LaCosse                            FPD Appointment


          OFFENSE LEVEL                                CHARGING DOCUMENT/COUNTS                         CHARGING DOCUMENT
                                                                                                      Read
Felony                                      Out-of-District Warrant                                   Reading Waived

             TYPE OF HEARING                                     DOCUMENTS                             CHANGE OF PLEA

✔   First Appearance                                 Defendant's Rights                       Guilty Plea to Count(s)
    Arraignment:                                     Waiver of                                of the
         mute              nolo contendre            Consent to Mag. Judge for
                           guilty                                                             Count(s) to be dismissed at sentencing:
         not guilty
                                                     Other:
    Initial Pretrial Conference
                                                                                              Presentence Report:
    Detention         (waived   )                                                                    Ordered      Waived
    Preliminary    (waived      )                 Court to Issue:                                Plea Accepted by the Court
✔   Rule 5 Proceeding                                Report & Recommendation
                                                                                                 No Written Plea Agreement
    Revocation/SRV/PV                                Order of Detention
                                                     Order to file IPTC Statements
    Bond Violation                                                                                 EXPEDITED RESOLUTION
                                                     Bindover Order
    Change of Plea                                ✔ Order Appointing Counsel
                                                                                                  Case appears appropriate for
    Sentencing                                       Other:                                       expedited resolution
    Other:

                    ADDITIONAL INFORMATION                                                       SENTENCING
Hearing conducted by video with Defendant's consent. Defendant            Imprisonment:
advised of his rights, the charges and penalties. The Government          Probation:
was advised of their Brady obligations. Detention hearing to be
                                                                          Supervised Release:
scheduled within three days.
                                                                          Fine: $
                                                                          Restitution: $
                                                                          Special Assessment: $
                                                                          Plea Agreement Accepted:             Yes    No
                                                                          Defendant informed of right to appeal:         Yes     No
                                                                          Counsel informed of obligation to file appeal:  Yes    No


                  CUSTODY/RELEASE STATUS                                               BOND AMOUNT AND TYPE

Remanded to USM                                                       $

CASE TO BE:                                                           TYPE OF HEARING:

Reporter/Recorder:          Digitally Recorded via Zoom               Courtroom Deputy:          C. Moore
        Case 1:21-mj-00069-ZMF Document 5 Filed 01/22/21 Page 5 of 18

                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF MICHIGAN
                             NORTHERN DIVISION


UNITED STATES OF AMERICA,

           Plaintiff,                          Case No. 2:21−mj−4

   v.                                          Hon. Maarten Vermaat

KARL DRESCH,

           Defendant.
                                        /



                            NOTICE OF HEARING


TAKE NOTICE that a hearing has been scheduled as set forth below:

Type of hearing(s):     Detention Hearing
Date/Time:              January 22, 2021 01:00 PM
Magistrate Judge:       Maarten Vermaat
Place/Location:         by video

The public may access this hearing by dialing 8883634734 and using this access
code 2739526#.



                                            MAARTEN VERMAAT
                                            U.S. Magistrate Judge

Dated: January 22, 2021           By:        /s/ A. E. Robinson
                                            Deputy Clerk
                          Case 1:21-mj-00069-ZMF Document 5 Filed 01/22/21 Page 6 of 18

                            UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF MICHIGAN
                                                     CRIMINAL MINUTE SHEET
USA v.       Karl Dresch                                                                Mag. Judge: Maarten Vermaat

    CASE NUMBER                       DATE                   TIME (begin/end)           PLACE                  INTERPRETER


       2:21-mj-4                     1/22/2021               1:01 pm - 1:51 pm         Marquette


APPEARANCES:
Government:                                              Defendant:                                     Counsel Designation:
Theodore Greeley                                         Elizabeth LaCosse                              FPD Appointment


          OFFENSE LEVEL                                CHARGING DOCUMENT/COUNTS                            CHARGING DOCUMENT
                                                                                                         Read
Felony                                      Out-of-District Warrant                                      Reading Waived

             TYPE OF HEARING                                       DOCUMENTS                              CHANGE OF PLEA

    First Appearance                                 Defendant's Rights                         Guilty Plea to Count(s)
    Arraignment:                                     Waiver of                                  of the
         mute              nolo contendre            Consent to Mag. Judge for
                           guilty                                                               Count(s) to be dismissed at sentencing:
         not guilty
                                                     Other:
    Initial Pretrial Conference
                                                                                                Presentence Report:
✔   Detention         (waived    )                                                                     Ordered      Waived
    Preliminary    (waived       )                Court to Issue:                                   Plea Accepted by the Court
    Rule 5 Proceeding                                Report & Recommendation
                                                                                                    No Written Plea Agreement
    Revocation/SRV/PV                                Order of Detention
                                                     Order to file IPTC Statements
    Bond Violation                                                                                    EXPEDITED RESOLUTION
                                                     Bindover Order
    Change of Plea                                   Order Appointing Counsel                       Case appears appropriate for
    Sentencing                                       Other:                                         expedited resolution
    Other:

                 ADDITIONAL INFORMATION                                                            SENTENCING
Hearing conducted by video with Defendant's consent.                         Imprisonment:
                                                                             Probation:
Argument on the record. Motion for detention granted.
                                                                             Supervised Release:
                                                                             Fine: $
                                                                             Restitution: $
                                                                             Special Assessment: $
                                                                             Plea Agreement Accepted:             Yes    No
                                                                             Defendant informed of right to appeal:         Yes    No
                                                                             Counsel informed of obligation to file appeal:  Yes   No


                  CUSTODY/RELEASE STATUS                                                 BOND AMOUNT AND TYPE

Detained                                                                $

CASE TO BE:           Set for hearing in charging district              TYPE OF HEARING: Further Proceedings

Reporter/Recorder:          Digitally Recorded via Zoom                 Courtroom Deputy:           C. Moore
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           Case 1:21-mj-00069-ZMF Document 5 Filed 01/22/21 Page 8 of 18




                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 NORTHERN DIVISION

UNITED STATES OF AMERICA,                           Case No. 2:21-mj-4

               Plaintiff,                           Hon. Maarten Vermaat
                                                    U.S. Magistrate Judge
      v.

KARL DRESCH,

               Defendant.
                                         /

                                      ORDER

      Pursuant to the Due Process Protections Act, the Court reminds the

government of its obligation under Brady v. Maryland, 373 U.S. 83 (1963), to disclose

evidence favorable to the defendant and material to the defendant’s guilt or

punishment. The government is ordered to comply with Brady and its progeny. The

failure to do so in a timely manner may result in consequences, including dismissal

of the indictment or information, exclusion of government evidence or witnesses,

adverse jury instructions, dismissal of charges, contempt proceedings, sanctions by

the Court, or any other remedy that is just under the circumstances.

      IT IS SO ORDERED.


Dated: January 21, 2021                    /s/ Maarten Vermaat
                                       MAARTEN VERMAAT
                                       U.S. MAGISTRATE JUDGE
                      Case 1:21-mj-00069-ZMF Document 5 Filed 01/22/21 Page 9 of 18

AO 472 (Rev. 11/16) Order of Detention Pending Trial


                                       UNITED STATES DISTRICT COURT
                                                                     for the
                                                         Western District
                                                       __________ DistrictofofMichigan
                                                                               __________

                   United States of America                             )
                              v.                                        )
                            Karl Dresch
                                                                        )      Case No.      2:20-mj-4
                                                                        )
                              Defendant                                 )

                                        ORDER OF DETENTION PENDING TRIAL
                                                        Part I - Eligibility for Detention

     Upon the

               u Motion of the Government attorney pursuant to 18 U.S.C. § 3142(f)(1), or
               ✔ Motion of the Government or Court’s own motion pursuant to 18 U.S.C. § 3142(f)(2),
               u

the Court held a detention hearing and found that detention is warranted. This order sets forth the Court’s findings of fact
and conclusions of law, as required by 18 U.S.C. § 3142(i), in addition to any other findings made at the hearing.

                             Part II - Findings of Fact and Law as to Presumptions under § 3142(e)

  u A. Rebuttable Presumption Arises Under 18 U.S.C. § 3142(e)(2) (previous violator): There is a rebuttable
    presumption that no condition or combination of conditions will reasonably assure the safety of any other person
    and the community because the following conditions have been met:
         u (1) the defendant is charged with one of the following crimes described in 18 U.S.C. § 3142(f)(1):
             u (a) a crime of violence, a violation of 18 U.S.C. § 1591, or an offense listed in 18 U.S.C.
                § 2332b(g)(5)(B) for which a maximum term of imprisonment of 10 years or more is prescribed; or
             u (b) an offense for which the maximum sentence is life imprisonment or death; or
             u (c) an offense for which a maximum term of imprisonment of 10 years or more is prescribed in the
                Controlled Substances Act (21 U.S.C. §§ 801-904), the Controlled Substances Import and Export Act
                (21 U.S.C. §§ 951-971), or Chapter 705 of Title 46, U.S.C. (46 U.S.C. §§ 70501-70508); or
             u (d) any felony if such person has been convicted of two or more offenses described in subparagraphs
                (a) through (c) of this paragraph, or two or more State or local offenses that would have been offenses
                described in subparagraphs (a) through (c) of this paragraph if a circumstance giving rise to Federal
                jurisdiction had existed, or a combination of such offenses; or
             u (e) any felony that is not otherwise a crime of violence but involves:
                (i) a minor victim; (ii) the possession of a firearm or destructive device (as defined in 18 U.S.C. § 921);
                (iii) any other dangerous weapon; or (iv) a failure to register under 18 U.S.C. § 2250; and
         u (2) the defendant has previously been convicted of a Federal offense that is described in 18 U.S.C.
           § 3142(f)(1), or of a State or local offense that would have been such an offense if a circumstance giving rise
           to Federal jurisdiction had existed; and
         u (3) the offense described in paragraph (2) above for which the defendant has been convicted was
           committed while the defendant was on release pending trial for a Federal, State, or local offense; and
         u (4) a period of not more than five years has elapsed since the date of conviction, or the release of the
           defendant from imprisonment, for the offense described in paragraph (2) above, whichever is later.

                                                                                                                   Page 1 of 3
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AO 472 (Rev. 11/16) Order of Detention Pending Trial

   u B. Rebuttable Presumption Arises Under 18 U.S.C. § 3142(e)(3) (narcotics, firearm, other offenses): There is a
     rebuttable presumption that no condition or combination of conditions will reasonably assure the appearance of the
     defendant as required and the safety of the community because there is probable cause to believe that the defendant
     committed one or more of the following offenses:
         u (1) an offense for which a maximum term of imprisonment of 10 years or more is prescribed in the
            Controlled Substances Act (21 U.S.C. §§ 801-904), the Controlled Substances Import and Export Act (21
            U.S.C. §§ 951-971), or Chapter 705 of Title 46, U.S.C. (46 U.S.C. §§ 70501-70508);
         u (2) an offense under 18 U.S.C. §§ 924(c), 956(a), or 2332b;
         u (3) an offense listed in 18 U.S.C. § 2332b(g)(5)(B) for which a maximum term of imprisonment of 10 years
            or more is prescribed;
         u (4) an offense under Chapter 77 of Title 18, U.S.C. (18 U.S.C. §§ 1581-1597) for which a maximum term of
            imprisonment of 20 years or more is prescribed; or
         u (5) an offense involving a minor victim under 18 U.S.C. §§ 1201, 1591, 2241, 2242, 2244(a)(1), 2245,
            2251, 2251A, 2252(a)(1), 2252(a)(2), 2252(a)(3), 2252A(a)(1), 2252A(a)(2), 2252A(a)(3), 2252A(a)(4),
            2260, 2421, 2422, 2423, or 2425.

   u C. Conclusions Regarding Applicability of Any Presumption Established Above

            u The defendant has not introduced sufficient evidence to rebut the presumption above, and detention is
              ordered on that basis. 3DUW,,,QHHGQRWEHFRPSOHWHG

                OR

            u The defendant has presented evidence sufficient to rebut the presumption, but after considering the
              presumption and the other factors discussed below, detention is warranted.

                                  Part III - Analysis and Statement of the Reasons for Detention

     After considering the factors set forth in 18 U.S.C. § 3142(g) and the information presented at the detention hearing,
the Court concludes that the defendant must be detained pending trial because the Government has proven:

   ✔ By clear and convincing evidence that no condition or combination of conditions of release will reasonably assure
   u
     the safety of any other person and the community.

   ✔ By a preponderance of evidence that no condition or combination of conditions of release will reasonably assure
   u
     the defendant’s appearance as required.

In addition to any findings made on the record at the hearing, the reasons for detention include the following:

       ✔
       u   Weight of evidence against the defendant is strong
       u   Subject to lengthy period of incarceration if convicted
       ✔
       u   Prior criminal history
       u   Participation in criminal activity while on probation, parole, or supervision
       ✔
       u   History of violence or use of weapons
       u   History of alcohol or substance abuse
       u   Lack of stable employment
       u   Lack of stable residence
       u   Lack of financially responsible sureties


                                                                                                                    Page 2 of 3
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AO 472 (Rev. 11/16) Order of Detention Pending Trial

        u   Lack of significant community or family ties to this district
        u   Significant family or other ties outside the United States
        u   Lack of legal status in the United States
        u   Subject to removal or deportation after serving any period of incarceration
        u   Prior failure to appear in court as ordered
        ✔
        u   Prior attempt(s) to evade law enforcement
        u   Use of alias(es) or false documents
        u   Background information unknown or unverified
        u   Prior violations of probation, parole, or supervised release

OTHER REASONS OR FURTHER EXPLANATION:
 In addition, the undersigned finds clear and convincing evidence that no condition or combination of conditions of release will
 reasonably assure the safety of any other person and the community based on (1) Defendant's possession of firearms and
 ammunition following a felony conviciton, (2) Defendant's posting of statements reflecting a willingness to engaged in additional
 actions that are similar to those he took on Jan. 6, 2021 (see Government's exhibits 18 and 19 from detention hearing), and (3)
 Defendant's willingness to flee pursuing police officers at high speed in 2013 (see ECF No. 3, PageID.6-7 (Pretrial Services Report
 documenting high speed chase involved Defendant in Wisconsin and Michigan on June 7, 2013)).




                                                 Part IV - Directions Regarding Detention

The defendant is remanded to the custody of the Attorney General or to the Attorney General’s designated representative for
confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving sentences or being
held in custody pending appeal. The defendant must be afforded a reasonable opportunity for private consultation with
defense counsel. On order of a court of the United States or on request of an attorney for the Government, the person in
charge of the corrections facility must deliver the defendant to a United States Marshal for the purpose of an appearance in
connection with a court proceeding.

                      01/22/2021
Date:                                                                               Maarten Vermaat
                                                                                  /s/
                                                                              United States Magistrate Judge




                                                                                                                              Page 3 of 3
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AO 472 (Rev. 11/16) Order of Detention Pending Trial


                                       UNITED STATES DISTRICT COURT
                                                                     for the
                                                         Western District
                                                       __________ DistrictofofMichigan
                                                                               __________

                   United States of America                             )
                              v.                                        )
                            Karl Dresch
                                                                        )      Case No.      2:20-mj-4
                                                                        )
                              Defendant                                 )

                                        ORDER OF DETENTION PENDING TRIAL
                                                        Part I - Eligibility for Detention

     Upon the

               u Motion of the Government attorney pursuant to 18 U.S.C. § 3142(f)(1), or
               ✔ Motion of the Government or Court’s own motion pursuant to 18 U.S.C. § 3142(f)(2),
               u

the Court held a detention hearing and found that detention is warranted. This order sets forth the Court’s findings of fact
and conclusions of law, as required by 18 U.S.C. § 3142(i), in addition to any other findings made at the hearing.

                             Part II - Findings of Fact and Law as to Presumptions under § 3142(e)

  u A. Rebuttable Presumption Arises Under 18 U.S.C. § 3142(e)(2) (previous violator): There is a rebuttable
    presumption that no condition or combination of conditions will reasonably assure the safety of any other person
    and the community because the following conditions have been met:
         u (1) the defendant is charged with one of the following crimes described in 18 U.S.C. § 3142(f)(1):
             u (a) a crime of violence, a violation of 18 U.S.C. § 1591, or an offense listed in 18 U.S.C.
                § 2332b(g)(5)(B) for which a maximum term of imprisonment of 10 years or more is prescribed; or
             u (b) an offense for which the maximum sentence is life imprisonment or death; or
             u (c) an offense for which a maximum term of imprisonment of 10 years or more is prescribed in the
                Controlled Substances Act (21 U.S.C. §§ 801-904), the Controlled Substances Import and Export Act
                (21 U.S.C. §§ 951-971), or Chapter 705 of Title 46, U.S.C. (46 U.S.C. §§ 70501-70508); or
             u (d) any felony if such person has been convicted of two or more offenses described in subparagraphs
                (a) through (c) of this paragraph, or two or more State or local offenses that would have been offenses
                described in subparagraphs (a) through (c) of this paragraph if a circumstance giving rise to Federal
                jurisdiction had existed, or a combination of such offenses; or
             u (e) any felony that is not otherwise a crime of violence but involves:
                (i) a minor victim; (ii) the possession of a firearm or destructive device (as defined in 18 U.S.C. § 921);
                (iii) any other dangerous weapon; or (iv) a failure to register under 18 U.S.C. § 2250; and
         u (2) the defendant has previously been convicted of a Federal offense that is described in 18 U.S.C.
           § 3142(f)(1), or of a State or local offense that would have been such an offense if a circumstance giving rise
           to Federal jurisdiction had existed; and
         u (3) the offense described in paragraph (2) above for which the defendant has been convicted was
           committed while the defendant was on release pending trial for a Federal, State, or local offense; and
         u (4) a period of not more than five years has elapsed since the date of conviction, or the release of the
           defendant from imprisonment, for the offense described in paragraph (2) above, whichever is later.

                                                                                                                   Page 1 of 3
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AO 472 (Rev. 11/16) Order of Detention Pending Trial

   u B. Rebuttable Presumption Arises Under 18 U.S.C. § 3142(e)(3) (narcotics, firearm, other offenses): There is a
     rebuttable presumption that no condition or combination of conditions will reasonably assure the appearance of the
     defendant as required and the safety of the community because there is probable cause to believe that the defendant
     committed one or more of the following offenses:
         u (1) an offense for which a maximum term of imprisonment of 10 years or more is prescribed in the
            Controlled Substances Act (21 U.S.C. §§ 801-904), the Controlled Substances Import and Export Act (21
            U.S.C. §§ 951-971), or Chapter 705 of Title 46, U.S.C. (46 U.S.C. §§ 70501-70508);
         u (2) an offense under 18 U.S.C. §§ 924(c), 956(a), or 2332b;
         u (3) an offense listed in 18 U.S.C. § 2332b(g)(5)(B) for which a maximum term of imprisonment of 10 years
            or more is prescribed;
         u (4) an offense under Chapter 77 of Title 18, U.S.C. (18 U.S.C. §§ 1581-1597) for which a maximum term of
            imprisonment of 20 years or more is prescribed; or
         u (5) an offense involving a minor victim under 18 U.S.C. §§ 1201, 1591, 2241, 2242, 2244(a)(1), 2245,
            2251, 2251A, 2252(a)(1), 2252(a)(2), 2252(a)(3), 2252A(a)(1), 2252A(a)(2), 2252A(a)(3), 2252A(a)(4),
            2260, 2421, 2422, 2423, or 2425.

   u C. Conclusions Regarding Applicability of Any Presumption Established Above

            u The defendant has not introduced sufficient evidence to rebut the presumption above, and detention is
              ordered on that basis. 3DUW,,,QHHGQRWEHFRPSOHWHG

                OR

            u The defendant has presented evidence sufficient to rebut the presumption, but after considering the
              presumption and the other factors discussed below, detention is warranted.

                                  Part III - Analysis and Statement of the Reasons for Detention

     After considering the factors set forth in 18 U.S.C. § 3142(g) and the information presented at the detention hearing,
the Court concludes that the defendant must be detained pending trial because the Government has proven:

   ✔ By clear and convincing evidence that no condition or combination of conditions of release will reasonably assure
   u
     the safety of any other person and the community.

   ✔ By a preponderance of evidence that no condition or combination of conditions of release will reasonably assure
   u
     the defendant’s appearance as required.

In addition to any findings made on the record at the hearing, the reasons for detention include the following:

       ✔
       u   Weight of evidence against the defendant is strong
       u   Subject to lengthy period of incarceration if convicted
       ✔
       u   Prior criminal history
       u   Participation in criminal activity while on probation, parole, or supervision
       ✔
       u   History of violence or use of weapons
       u   History of alcohol or substance abuse
       u   Lack of stable employment
       u   Lack of stable residence
       u   Lack of financially responsible sureties


                                                                                                                    Page 2 of 3
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AO 472 (Rev. 11/16) Order of Detention Pending Trial

        u   Lack of significant community or family ties to this district
        u   Significant family or other ties outside the United States
        u   Lack of legal status in the United States
        u   Subject to removal or deportation after serving any period of incarceration
        u   Prior failure to appear in court as ordered
        ✔
        u   Prior attempt(s) to evade law enforcement
        u   Use of alias(es) or false documents
        u   Background information unknown or unverified
        u   Prior violations of probation, parole, or supervised release

OTHER REASONS OR FURTHER EXPLANATION:
 In addition, the undersigned finds clear and convincing evidence that no condition or combination of conditions of release will
 reasonably assure the safety of any other person and the community based on (1) Defendant's possession of firearms and
 ammunition following a felony conviciton, (2) Defendant's posting of statements reflecting a willingness to engaged in additional
 actions that are similar to those he took on Jan. 6, 2021 (see Government's exhibits 18 and 19 from detention hearing), and (3)
 Defendant's willingness to flee pursuing police officers at high speed in 2013 (see ECF No. 3, PageID.6-7 (Pretrial Services Report
 documenting high speed chase involved Defendant in Wisconsin and Michigan on June 7, 2013)).




                                                 Part IV - Directions Regarding Detention

The defendant is remanded to the custody of the Attorney General or to the Attorney General’s designated representative for
confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving sentences or being
held in custody pending appeal. The defendant must be afforded a reasonable opportunity for private consultation with
defense counsel. On order of a court of the United States or on request of an attorney for the Government, the person in
charge of the corrections facility must deliver the defendant to a United States Marshal for the purpose of an appearance in
connection with a court proceeding.

                      01/22/2021
Date:                                                                               Maarten Vermaat
                                                                                  /s/
                                                                              United States Magistrate Judge




                                                                                                                              Page 3 of 3
                     Case 1:21-mj-00069-ZMF Document 5 Filed 01/22/21 Page 15 of 18
AO 94 (Rev. 06/09) Commitment to Another District



                                     UNITED STATES DISTRICT COURT
                                                                  for the
                                                     Western District of Michigan

                  United States of America                          )
                             v.                                     )
                                                                    )       Case No.   2:21-mj-4
                                                                    )
                          Karl Dresch                               )         Charging District’s
                           Defendant                                )         Case No.     1:21-mj-69

                                            COMMITMENT TO ANOTHER DISTRICT

          The defendant has been ordered to appear in the                                District of            Columbia   ,
(if applicable)                                     division. The defendant may need an interpreter for this language:
                                                              .

          The defendant:        u will retain an attorney.
                                ✔ is requesting court-appointed counsel.
                                u

          The defendant remains in custody after the initial appearance.

         IT IS ORDERED: The United States marshal must transport the defendant, together with a copy of this order,
to the charging district and deliver the defendant to the United States marshal for that district, or to another officer
authorized to receive the defendant. The marshal or officer in the charging district should immediately notify the United
States attorney and the clerk of court for that district of the defendant’s arrival so that further proceedings may be
promptly scheduled. The clerk of this district must promptly transmit the papers and any bail to the charging district.


                                                                  /s/   Maarten Vermaat
Date:         January 22, 2021
                                                                                         Judge’s signature

                                                                  Maarten Vermaat, United States Magistrate Judge
                                                                                       Printed name and title
2/4/2021               Case 1:21-mj-00069-ZMF      Document
                                         United States District Court5for the
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                                                                                      District of Michigan


                                     Query       Reports         Utilities    Help    What's New   Log Out



                                                                                                                   CLOSED

                               United States District Court
                    Western District of Michigan (Northern Division (2))
              CRIMINAL DOCKET FOR CASE #: 2:21-mj-00004-MV All Defendants


 Case title: USA v. Dresch                                                           Date Filed: 01/20/2021
 Other court case number: 1:21-mj-69 District of Columbia                            Date Terminated: 01/22/2021


 Assigned to: Magistrate Judge Maarten
 Vermaat

 defendant (1)
 Karl Dresch                                                         represented by Elizabeth A. LaCosse (FPD)
 TERMINATED: 01/22/2021                                                             Federal Public Defender (Marquette)
                                                                                    925 W Washington, Ste. 104
                                                                                    Marquette, MI 49855
                                                                                    (906) 226-3050
                                                                                    Fax: (906) 273-0070
                                                                                    Email: beth_lacosse@fd.org
                                                                                    LEAD ATTORNEY
                                                                                    ATTORNEY TO BE NOTICED
                                                                                    Designation: Public Defender or
                                                                                    Community Defender Appointment

 Pending Counts                                                                      Disposition
 None

 Highest Offense Level (Opening)
 None

 Terminated Counts                                                                   Disposition
 None

 Highest Offense Level (Terminated)
 None

 Complaints                                                                          Disposition
 1:1RF.F Rule 5 Felony Proceedings



 Plaintiff
https://miwd-ecf.sso.dcn/cgi-bin/DktRpt.pl?123024222149195-L_1_0-1                                                        1/3
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                                                                                      District of Michigan

 USA                                                                 represented by Theodore Joseph Greeley
                                     Query       Reports         Utilities     Help What's New Log Out
                                                                                    U.S. Attorney (Marquette)
                                                                                    Huntington Bank Building, 2nd Fl.
                                                                                    1930 US 41 W
                                                                                    Marquette, MI 49855
                                                                                    (906) 226-2500
                                                                                    Email: theodore.greeley@usdoj.gov
                                                                                    LEAD ATTORNEY
                                                                                    ATTORNEY TO BE NOTICED
                                                                                    Designation: Assistant U.S. Attorney

  Date Filed            #     Docket Text
  01/20/2021             1 NOTICE as to Karl Dresch: first appearance is set for 1/20/2021 at 03:00 PM at
                           by video before Magistrate Judge Maarten Vermaat; (aer) (Entered: 01/20/2021)
  01/20/2021             2 CJA 23 financial affidavit by defendant Karl Dresch in support of request for court-
                           appointed counsel (cam) (Entered: 01/20/2021)
  01/20/2021             3 (RESTRICTED ACCESS) PRETRIAL SERVICES REPORT as to Karl Dresch
                           [Access to this document is available to the Court and temporarily available to
                           attorney(s) for USA, Karl Dresch only] (Supervising USPO Joshua Hechtman, jae,
                           ) Modified on 2/3/2021 to revoke attorney access (cam). (Entered: 01/20/2021)
  01/20/2021             4 MOTION for detention by USA as to Karl Dresch (Greeley, Theodore) (Entered:
                           01/20/2021)
  01/20/2021             5 PENALTY SHEET by USA as to Karl Dresch (cam) (Entered: 01/20/2021)
  01/20/2021             6 MINUTES of FIRST APPEARANCE by video conference in Rule 5 proceedings
                           for defendant Karl Dresch held before Magistrate Judge Maarten Vermaat
                           (Proceedings Digitally Recorded via Zoom) (cam) (Entered: 01/21/2021)
  01/21/2021                  (NON-DOCUMENT) ORDER APPOINTING FEDERAL PUBLIC DEFENDER as
                              counsel for defendant Karl Dresch ; signed by Magistrate Judge Maarten Vermaat
                              (cam) (Entered: 01/21/2021)
  01/21/2021             7 ORDER as to defendant Karl Dresch re Rule 5(f) ; signed by Magistrate Judge
                           Maarten Vermaat (cam) (Entered: 01/21/2021)
  01/21/2021                  (NON-DOCUMENT) ATTORNEY APPEARANCE of Elizabeth A. LaCosse (FPD)
                              for defendant Karl Dresch (LaCosse (FPD), Elizabeth) (Entered: 01/21/2021)
  01/22/2021             8 NOTICE OF HEARING as to Karl Dresch detention hearing set for 1/22/2021 at
                           01:00 PM at by video before Magistrate Judge Maarten Vermaat; (aer) (Entered:
                           01/22/2021)
  01/22/2021             9 WAIVER of Rule 5 and 5.1 hearings by Karl Dresch (cam) (Entered: 01/22/2021)
  01/22/2021           10 MINUTES of DETENTION hearing conducted by video conference as to
                          defendant Karl Dresch held before Magistrate Judge Maarten Vermaat
                          (Proceedings Digitally Recorded via Zoom) (cam) (Entered: 01/22/2021)
  01/22/2021           11 COMMITMENT TO ANOTHER DISTRICT: defendant Karl Dresch committed to
                          District of Columbia ; signed by Magistrate Judge Maarten Vermaat (cam)
                          (Entered: 01/22/2021)
  01/22/2021           12 ORDER OF DETENTION pending trial as to defendant Karl Dresch ; signed by
                          Magistrate Judge Maarten Vermaat (cam) (Entered: 01/22/2021)
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  01/22/2021           13 NOTICE OF TRANSFER
                              Query   Reports     to District of
                                                  Utilities      Columbia
                                                              Help        District
                                                                     What's New Court   of a Rule 5 Initial
                                                                                   Log Out
                          Appearance as to Karl Dresch (Attachments: # 1 Docket Report and Transfer
                          Documents) (cam) (Entered: 01/22/2021)




https://miwd-ecf.sso.dcn/cgi-bin/DktRpt.pl?123024222149195-L_1_0-1                                                 3/3
